                     UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF NORTH CAROLINA


NORTH CAROLINA STATE
CONFERENCE OF THE NAACP, et
al.,

                    Plaintiffs,
                                           No. 1:18-cv-01034
             v.

ALAN HIRSCH, in his official capacity
as Chair of the North Carolina State
Board of Elections, et al.,

                    Defendants,

                    and

PHILLIP E. BERGER, in his official
capacity as President Pro Tempore of the
Senate, et al.,

Legislative Defendants-Intervenors.




                          PLAINTIFFS’ TRIAL BRIEF




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                                 INTRODUCTION

      "It is beyond dispute that ‘voting is of the most fundamental significance

under our constitutional structure’... ‘Other rights, even the most basic, are illusory

if the right is undermined.’” North Carolina State Conference of the NAACP v.

McCrory, 831 F. 3d 204, 241 (4th Cir. 2016) (citations omitted), cert denied 137 S.

Ct. 1399 (2017). It is imperative that this right is protected in North Carolina, a state

where it has been under assault for decades. In fact, the Fourth Circuit held that the

State’s last attempt at imposing a voter identification requirement was enacted with

“discriminatory intent,” “target[ing] African Americans with almost surgical

precision,” and “impos[ing] cures for problems that did not exist.” Id. at 214.

      Plaintiffs bring this lawsuit to challenge various provisions of S.B. 824; N.C.

S.L. 2018-144: (i) the provisions requiring photo-identification for voters (Sections

1.1(a)-1.5(d)); (ii) the provisions allowing any voter to challenge another voter for

failing to comply with the photo ID provisions (Section 3.1(c); N.C. Gen. Stat 163-

87); and (iii) the provisions expanding the use of poll observers (Section 3.3; N.C.

Gen. Stat. 163-45). S.B. 824 was enacted with discriminatory intent in violation of

the Fourteenth and Fifteenth Amendments of the U.S. Constitution and has already

had a discriminatory impact on the right of Black and Latino citizens in North

Carolina to participate in the political process, in violation of Section 2 of the Voting

Rights Act, 52 U.S.C. § 10301(a). The trial will confirm the discriminatory intent




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     behind the passage of S.B. 824 and its discriminatory impact, in part through

     testimony from and about voters who encountered undue burdens and/or were

     prevented from voting during the Fall 2023 and March 2024 elections, the first

     elections where S.B. 824 was implemented. Absent relief, thousands of North

     Carolinians will similarly have their right to vote unconstitutionally abridged. The

     challenged provisions should be permanently enjoined on the basis of these

     constitutional and statutory violations.

                                           ARGUMENT

I.      PLAINTIFFS HAVE STANDING TO BRING THIS LAWSUIT

            Plaintiff North Carolina State Conference of the NAACP (“NC NAACP”) is

     a nonpartisan, nonprofit organization composed of over 100 branches and 20,000

     individual members throughout the state of North Carolina, including the six

     plaintiff branches in this case.1 The NC NAACP is currently led by President

     Deborah Maxwell and has members who are citizens and registered voters in each

     of the state’s 100 counties.

            NC NAACP has standing to bring this lawsuit. Organizational plaintiffs have

     standing on a representational theory if “(1) its members would have standing if they




     1 Collectively, Plaintiffs North Carolina State Conference of the NAACP, Stokes County Branch
     of the NAACP, Greensboro Branch of the NAACP, Winston Salem-Forsyth Branch of the
     NAACP, High Point Branch of the NAACP, Chapel Hill-Carrboro Branch of the NAACP, and
     Moore County Branch of the NAACP, will be referred to as “NAACP Plaintiffs.”



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sued individually; (2) the interests the lawsuit seeks to raise ‘are germane to the

organization's purpose’; and (3) the claims and type of relief asserted in the

complaint do not require the individual members’ participation in the lawsuit.” N.C.

State Conf. of the NAACP v. Raymond, 981 F.3d 295, 301 (4th Cir. 2020) (quoting

Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977)). The Fourth

Circuit has already held that NC NAACP has representational standing under Hunt.

See Raymond, 981 F.3d at 301. Plaintiffs’ members include Black and Latino voters

in North Carolina who lack the forms of ID required under S.B. 824, and who will

therefore effectively be denied the right to vote or otherwise deprived of meaningful

access to the political process because of the challenged provisions of S.B. 824. The

challenged provisions of S.B. 824 will impose costs and substantial and undue

burdens on the right to vote for those and other members.

      At trial, Plaintiffs will also set forth evidence of impacts to NAACP Plaintiffs

sufficient to establish organizational standing. See Voto Latino v. Hirsch, No. 1:23-

CV-861, 2024 WL 230931, at *9-12 (M.D.N.C. Jan. 21, 2024). Evidence will show

that the NAACP Plaintiffs have diverted resources to address the changes in election

law imposed by S.B. 824, including diverting resources to educate the community

about obtaining the needed photo IDs and how to use the Reasonable Impediment

Declaration process.    Since a mission of the NC NAACP is to mobilize and




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empower Black voters, the disparate racial impacts of S.B. 824 thwart the broad

organizational mission of the NC NAACP and its Chapters.

II.    THE LEGISLATURE ENACTED S.B. 824 WITH RACIALLY
       DISCRIMINATORY INTENT IN VIOLATION OF THE
       FOURTEENTH AND FIFTEENTH AMENDMENTS

           A.   Courts Apply Arlington Heights Factors in Assessing
                Discriminatory Intent

       A facially neutral election law constitutes intentional race discrimination

where “circumstantial and direct evidence of intent” shows that the law had an

impermissible purpose. N.C. State Conf. of the NAACP v. McCrory, 831 F.3d 204,

220 (4th Cir. 2016) (quoting Village of Arlington Heights v. Metro. Hous. Dev.

Corp., 429 U.S. 252, 266 (1977)).

       There is a two-step process to determine whether a law was enacted with

discriminatory intent. Hunter v. Underwood, 471 U.S. 222, 225 (1985). First, the

challengers must show that racial discrimination was a “substantial” or “motivating”

factor behind the enactment of the law. Id. at 228. Discriminatory intent is not the

same thing as racial animus. Garza v. Cnty. of Los Angeles, 918 F.2d 763, 778–79

& n.1 (9th Cir. 1990) (Kozinski, J., concurring and dissenting in part). “[Plaintiffs]

need not prove race-based hatred or outright racism, or that any particular legislator

harbored racial animosity or ill-will towards minorities because of their race.” Perez

v. Abbott, 253 F. Supp. 3d 864, 948 (W.D. Tex. 2017) (citing McCrory, 831 F.3d at

222-23).



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      In assessing evidence of intent, courts apply the Arlington Heights standard

and consider a non-exhaustive list of factors: “(1) historical background; (2) the

specific sequence of events leading to the law’s enactment, including any departures

from the normal legislative process; (3) the law’s legislative history; and (4) whether

the law ‘bears more heavily on one race than another.’” Raymond, 981 F.3d at 303

(quoting Arlington Heights, 429 U.S. at 265-69).

      “Once racial discrimination is shown to have been a ‘substantial’ or

‘motivating’ factor, the burden shifts to the law’s defenders to demonstrate that the

law would have been enacted without this factor.” Hunter, 471 U.S. at 228. “It is

only then that judicial deference to the legislature ‘is no longer justified.’” Raymond,

981 F.3d at 303 (quoting Arlington Heights, 429 U.S. at 265–66). Thus, the court

must now “scrutinize the legislature’s actual non-racial motivations to determine

whether they alone can justify the legislature’s choices.” McCrory, 831 F.3d at 221.

      Significantly, “acting to preserve legislative power in a partisan manner can

also be impermissibly discriminatory.”          Veasey, 830 F.3d at 241.        Indeed,

"intentionally targeting a particular race’s access to the franchise because its

members vote for a particular party, in a predictable manner, constitutes

discriminatory purpose.” McCrory, 831 F.3d. at 222.




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          B.  North Carolina Enacted S.B. 824 with Racially Discriminatory
              Intent
      Applying the Arlington Heights framework, Plaintiffs will establish that the

North Carolina legislature acted with racially discriminatory intent in enacting S.B.

824 and did not act with a sufficient non-discriminatory purpose to justify the law.

               1.   North Carolina Has A Long History of Discriminating Against
                    Black and Latino Voters

      The historic pattern of racial discrimination “provides important context for

determining whether the same decision-making body has also enacted a law with

discriminatory purpose.” McCrory, 831 F.3d at 223-224. While enactments of a

state legislature are entitled to a presumption of regularity and good faith, historical

background of a law is “relevant to the question of intent.” See Abbot v. Perez,138

S. Ct. 2305, 2324-25 (2018).

      North Carolina’s history of discrimination against Black voters has been well-

documented. See McCrory, 831 F. 3d. at 223-227; see also ECF No. 120 at 12

(“North Carolina has a sordid history of racial discrimination and voter suppression,

stretching back to the time of slavery, through the era of Jim Crow, and crucially,

continuing up to the present day.”). This history extends into the present, and

includes recent actions such as the enactment of S.B. 824’s predecessor (H.B. 589)

in 2013, and engaging in unconstitutional race-based gerrymandering, struck down

by federal courts in 2016 and 2017. See ECF No. 182 at 12-13. Indeed, State Board

Defendants acknowledged in their motion for summary judgment “North Carolina’s



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long history of racial discrimination” and “race-based vote suppression.” ECF No.

178 at 15. Moreover, the Fourth Circuit has recognized that “North Carolina's

historical background favors finding discriminatory intent . . . .” Raymond, 981 F.3d

at 305.

      Plaintiffs’ experts Allan Lichtman and Jim Leloudis, along with fact

witnesses, will testify that the enactment of S.B. 824 was merely one of a series of

racially discriminatory attacks on voting by the legislature over the last decade.

These attacks began with the unconstitutional gerrymandering of state and

congressional districts in 2011 and continue to the present day with the passage of

voter suppression bills like S.B. 747 and S.B. 749, as well as the passage of new

racially gerrymandered maps in 2023.

             2.      Sequence Of Events Leading To S.B. 824’s Enactment Evince
                     Discriminatory Intent

      The “specific sequence of events leading up to the challenged decision may

also shed some light on the decisionmaker’s purposes” or “spark suspicion” of

discriminatory intent. Arlington Heights, 429 U.S. at 267, 269. “Departures from

the normal procedural sequence also might afford evidence that improper purposes

are playing a role.” Id. at 267. Here, Plaintiffs experts Lichtman and Leloudis and

numerous fact witnesses will testify about the abuses of legislative process necessary

to enact S.B. 824.




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      First and foremost, S.B. 824 was the product of an unconstitutional racial

gerrymander. On June 28, 2018, the Supreme Court issued its final decision in

Covington and by this time it was well established that the North Carolina’s

General Assembly was composed of a substantial number of legislators elected

from districts that utilized unconstitutional racial gerrymandering. See North

Carolina v. Covington, 138 S. Ct. 2548 (2018) (per curiam), see also Covington v.

North Carolina, 316 F.R.D. 117, 124 (M.D.N.C 2016), aff’d, 137 S. Ct. 2211

(2017). One day after the Supreme Court’s final decision in Covington, the North

Carolina General Assembly ratified H.B. 1092. In 2022, the North Carolina

Supreme Court held that the Legislature “acting with the knowledge that twenty-

eight of its districts were unconstitutionally racially gerrymandered and that more

than two-thirds of all legislative districts needed to be redrawn to achieve

compliance with the Equal Protection Clause, chose to initiate the process of

amending the state constitution at the last possible moment prior to the first

opportunity North Carolinians had to elect representatives from presumptively

constitutional legislative districts.” N.C. State Conference of the NAACP v. Moore,

382 N.C. 129,132, 876 S.E.2d 513, 518 (2022)

      Further, the legislature retained its illegal supermajority only by misleading

the court as to the nature of the new district lines it used for the election that created

the 2017-2018 General Assembly, which then enacted S.B. 824 in a special lame




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duck session, rushing to act before it lost the supermajority it needed to override the

Governor’s veto. The massive deception perpetrated by legislative leaders was an

essential precondition to enactment of S.B. 824 and is an unprecedented “departure

from the normal procedural sequence.”

      At trial, Plaintiffs will establish further evidence of aberrational process

supporting an inference of discrimination, including: (i) the waning strength of the

white electorate and the increasing racial polarization in voting in North Carolina

(providing a strong incentive for North Carolina legislators to restrict the Black and

Latino vote); (ii) many of the same lawmakers who led the effort to enact S.B. 824

also led the effort to enact H.B. 589; (iii) the awareness of lawmakers who led the

effort to enact S.B. 824 that H.B. 589 racially discriminated in violation of the VRA

and the Constitution; and (iv) the legislature undertook no meaningful process to

review or evaluate voting or elections issues in North Carolina, or to revise the

method of photo ID to render it non-discriminatory (a particularly glaring omission

in light of the judicial decisions striking down H.B. 589 as racially discriminatory).

             3.     The Legislative History Reveals Racially Discriminatory Intent
                    Behind S.B. 824

      The legislative history of the enactment of S.B. 824 is also “highly relevant”

to a finding of discriminatory intent. Arlington Heights, 429 U.S. at 268. Here,

Plaintiffs’ experts Lichtman and Leloudis, as well as fact witnesses, will testify at

trial that: (i) the legislature rejected amendments that would have ameliorated the



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discriminatory impact of S.B. 824, including amendments to allow non-photo IDs

and amendments to allow public sector photo IDs; (ii) while the legislature made

cosmetic changes to the forms of identification allowed from H.B. 589, these

changes had no appreciable impact on the disparate racial impacts of the law; (iii)

S.B. 824 sponsors acknowledged that their intent with respect to S.B. 824 was not

to cure or resolve the impermissibly discriminatory features of H.B. 589, but to enact

essentially the same provisions in a manner designed to defeat judicial challenge;

(iv) the legislature followed a rushed process for enacting the statute calling for a

Constitutional Amendment; (v) the legislature followed a rushed process for

enacting S.B. 824 ; and (vi) S.B. 824 was enacted essentially on partisan lines.

             4.     S.B. 824 Has Had and Will Continue to Have a Discriminatory
                    Impact On Black and Latino Voters

      Courts also look to the impact of a law -- “whether it bears more heavily on

one race or another” -- to assess discriminatory intent. Arlington Heights, 429 U.S.

at 266. Here, the evidence to be presented at trial is incontrovertible that the photo

ID provisions of S.B. 824 have already, and will continue to, have a significant

disparate impact on Black and Latino voters. The evidence of disparate impact,

and the failure of the Free ID and reasonable impediment provisions to address

these disparities, is addressed below in Section III.




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III.    S.B. 824’S PHOTO ID REQUIREMENTS WILL PRODUCE
        DISCRIMINATORY RESULTS IN VIOLATION OF SECTION 2 OF
        THE VOTING RIGHTS ACT

        Section 2 of the Voting Rights Act (“VRA”) prohibits a state from imposing

any voting practice that “results in a denial or abridgment of the right of any citizen

of the United States to vote on account of race or color[.]” 52 U.S.C. § 10301(a).

Unlike claims under the Fourteenth and Fifteenth Amendments, plaintiffs are not

required to prove discriminatory intent when claiming a violation of Section 2 of the

VRA. Chisom v. Romer, 501 U.S. 380, 403 (1991). “Congress [has] made it clear

that a violation of § 2 c[an] be established by proof of discriminatory results alone.”

Chisom, 501 U.S. at 404; see also 52 U.S.C. § 10301(a), (b); Allen v. Milligan, 143

S. Ct. 1487 (“[Section] 2 turns on the presence of discriminatory effects, not

discriminatory intent...Congress has used the words ‘on account of race and color’

in the Act to mean ‘with respect to race or color’ and not to connote any required

purpose of racial discrimination”).

        The Fourth Circuit applies a two-prong approach when analyzing vote denial

claims under Section 2:

        (i) The challenged law “imposes a discriminatory burden on members of a
            protected class” such that “members of the protected class ‘have less
            opportunity than other members of the electorate to participate in the
            political process . . .’”; and

        (ii) The discriminatory burden is in part “caused by or linked to ‘historical
             conditions’ that have or currently produce discrimination against members
             of the protected class.”



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League of Women Voters v. North Carolina, 769 F.3d 224, 240 (4th Cir. 2014)

(citations omitted).

      Analysis of a vote denial claim under Section 2 requires consideration of “the

totality of circumstances.” Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321,

2341 (2021). The Supreme Court in Brnovich set forth “certain guideposts”

appropriate for assessing whether, based on the “totality of circumstances,” a state

election law violated Section 2. Id. at 2336. These include: (i) “the size of the burden

imposed by a challenged voting rule”; (ii) “the degree to which a voting rule departs

from what was standard practice when [Section] 2 was amended in 1982”; (iii) “the

size of any disparities in a rule’s impact on members of different racial or ethnic

groups”; (iv) “the opportunities provided by a [s]tate’s entire system of voting when

assessing the burden imposed by a challenged provision”; and (v) “the strength of

the state interests served by a challenged voting rule.” Id. at 2339–40.

      The Court in Brnovich emphasized that these “guideposts” are not an

exhaustive list. Id. at 2338. In fact, “any circumstance that has a logical bearing on

whether voting is ‘equally open’ and affords equal ‘opportunity’ may be

considered.” Id; see also ECF No. 234, at 15. The objective factors set forth in the

1982 Senate Judiciary Committee Report (the “Senate Factors”) remain relevant to

the overall analysis of a neutral time, place and manner voting restriction, including:

(i) whether minority groups suffered discrimination in the past; and (ii) whether such



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discrimination persists. Id. at 2340; see Thornburg v. Gingles, 478 U.S. 30, 36–37.

Additionally, underlying evidence of racially polarized voting, racially tinged

campaign appeals, and the election of minority-group candidates is relevant in

determining whether minority group members suffered discrimination and whether

such discrimination persists. Brnovich, 141 S. Ct. at 2340; see Gingles, 478 U.S. at

37.

      A. The senate factors support finding that S.B. 824’s Photo ID Requirement
         Violates The VRA Results standard

        1. Past History of Official, Voting-related Racial Discrimination (S.F.
           #1)

        The history of voting-related racial discrimination is summarized in Section

II. B. 1.

        2. Minority Group Members Continue to Bear the Burden of Past
           Discrimination (S.F. #5)

        The effects of this history of past discrimination continue to impact Black and

Latino voters into the present. Section 2 of the VRA is violated when a voting

practice “interacts with social and historical conditions to cause an inequality in the

opportunities enjoyed by black and white voters to elect their preferred

representatives.” Thornburg , 478 U.S. at 47. Plaintiffs’ experts Burden, Leloudis,

and Lichtman and fact witnesses will present evidence that Black and Latino voters

in North Carolina are disproportionately low income, have less education, suffer




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greater incidences of poverty, have less adequate health care, and are treated

unequally in the criminal justice system.

      These disparities are directly related to unequal impacts in voting and electoral

participation. Plaintiffs’ experts will testify that socioeconomic status impacts the

ability of Black and Latino voters to participate fully in the political process and

obtain acceptable forms of photo identification; that educational attainment and

income correlate directly with whether an individual votes; ; and that significant

disparities in license revocation and suspension contribute to much higher rates of

DMV ID non-possession among Black voters.

      3. Other Senate Factors

      The Supreme Court in Brnovich acknowledged that other Gingles factors

remain relevant as part of a totality of circumstances analysis. Brnovich, 141 S. Ct.

at 2340. Plaintiffs will set forth evidence at trial that voting in North Carolina

continues to be racially polarized, that election officials continue to use voting

procedures that enhance the opportunity for discrimination, that there is a lack of

responsiveness on the part of elected officials to the needs of minority group

members, and that minority voters continue to face obstacles in being elected to

office.




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   A. S.B. 824’s Photo ID Requirement Violates The Brnovich Guideposts

   1. Size Of the Burden & Disparities in Impacts on Black and Latino
      Voters (Guideposts 1 And 3)
      S.B. 824 imposes significant and disparate burdens on Black and Latino voters

in several distinct ways, including the disparity in ID possession by minority voters;

the deterrent effect of non-possession of IDs; the failure of the “ameliorative”

provisions of SB 824 to resolve the disparate impacts of the ID requirements; and

the impact of the actual costs of obtaining a photo ID for Black and Latino voters.

                    i.     Racial Disparities in ID Possession

      The disparities in ID possession among Black and Latino voters in North

Carolina is well documented, and numerous lines of evidence will be presented at

trial to support this conclusion, including:

       Professor Michael Herron’s analysis of a no-match list developed by the
        SBOE in 2019, showing that 8.1% of NC voters lack a valid form of DMV
        issued photo ID, that Black voters are 63% more likely than white voters
        to lack a form of ID, and that Latino voters are 95% more likely than White
        voters to lack a valid form of ID.

       Herron’s analysis of DMV and SBOE databases as of September 2021,
        showing that 9.34% of NC voters lack a valid form of DMV-issued ID,
        that Black voters are 258% more likely than white voters to lack a valid
        form of ID, and that Latino voters are 69% more likely than White voters
        to lack a valid form of ID.

       Herron’s analysis of DMV and SBOE databases as of November 2023,
        showing that at least 6.6% and possibly as many as 8.84% of NC voters
        lack a valid form of DMV-issued ID, that Black voters are 2.84 times more
        likely than white voters to lack a valid form of ID, and that Latino voters
        are 1.5 times more likely than White voters to lack a valid form of ID.



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       A survey conducted by Matthew Barreto in 2019 of North Carolina’s
        eligible voters that concluded that whereas 93.9% of white voters in North
        Carolina possessed qualifying identification with a photograph that still
        resembles them, only 87.6% of Blacks and 83.3% of Latinos possess such
        identification, making Blacks more than twice as likely as whites to lack
        qualifying identification and Latinos more than 2.7 times as likely as
        whites to lack qualifying identification.

          A survey conducted by Matthew Barreto in 2024 of North Carolina’s
          eligible voters that concluded that whereas 92.1% of white voters in North
          Carolina possessed qualifying identification with a photograph that still
          resembles them, only 84.1% of Blacks and 83.6% of Latinos possess such
          identification, making both Blacks and Latinos more than twice as likely
          as whites to lack qualifying identification.

      This evidence shows that hundreds of thousands of North Carolina voters lack

the forms of ID required by S.B. 824, and of these Black voters are more than twice

as likely as White voters to lack a valid form of identification, while Latino voters

are typically fifty percent (or more) more likely than white voters to lack ID.

             ii.    Deterrent effect of ID Non-Possession

      Plaintiffs’ expert and fact witnesses will testify at trial that the photo ID

requirements of S.B. 824 have disproportionately impacted Black and Latino

voters through its deterrent effect, in at least two different ways. First, voters who

lack a valid form of identification will leave the polls rather than complete the

burdensome steps required to vote without one. Second, the photo ID

requirement will keep voters who lack ID or who believe they lack ID from

coming to the polls to vote. In the 2016 primary election Plaintiffs’ expert




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estimates that over 100,000 voters were deterred from voting due to the photo ID

requirement.

               iii.   Failure of Ameliorative Provisions to Counteract the Disparate
                      Impact of Non-Possession

      S.B. 824 provides for exceptions to the ID requirement for voters who either

do not possess a valid ID for purposes of voting, or who do not have an ID on their

person when voting. Voters may either cast a provisional ballot that will be counted

if they return to the County Board of Elections with an ID by the day before canvass,

or they may file a provisional ballot alongside filling out a Reasonable Impediment

Declaration, now called an “ID Exception Form.” While the State Board of

Elections’ guidance clearly says that every voter must be presented with both

options, Plaintiffs will also present evidence at trial that many voters were only offered

the option to return with their ID to the County Board of Elections – unfortunately, the

majority of these voters who cast this type of provisional were ultimately

disenfranchised.

      A voter using the “reasonable impediment” option must sign an affidavit

attesting that they were unable to acquire acceptable ID, had their ID lost or stolen,

have not yet received the ID for which they applied, or provide another reason. S.L.

2018-144 Section 1.2(a); N. C. Gen. Stat. § 163-166.16(e). Under S.B. 824, if a

voter selects this option     , the County Board of Elections shall find that the




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provisional ballot is valid unless the County Board has grounds to believe the

affidavit is false.”

       However, the "reasonable impediment" provision does not alleviate the

disparities in ID possession. First, the RID process is more likely to impact minority

voters because they are more likely to lack IDs. Second, the evidence will establish

that completing a reasonable impediment declaration can be complex and

intimidating. Voters are segregated to a separate line, required to declare the nature

of their "impediment" in a public setting, under penalty of perjury, before a poll

worker . The reasonable impediment declaration form must include a “prominent

statement” stating that “submitting fraudulently or falsely completed declarations is

a Class I felony.” Third, after submitting the affidavit, they are also subject to being

called in by the County Board of Elections to a public hearing to be questioned on

the veracity of the “reasonable impediment” they listed on their form. These

additional costs and burdens will be disproportionately borne by Blacks and Latinos

who have fewer resources to overcome them.

       At trial, Plaintiffs will present expert testimony on the failure of the RID

process to fill the significant and racially disparate gap in ID possession created by

S.B. 824. Plaintiffs will further provide fact and expert testimony on the failure of

the State Board to properly and consistently implement the RID process in the 2023

municipal elections and the 2024 primary election. Despite the State Board’s




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assertion in this case that “it’s hard to conceive of how a County Board member

would come up with grounds to believe what the person said was false,” much less

convince four other board members to share that belief (ECF No. 119, at 112)

Plaintiffs will demonstrate at trial that in fact numerous County Boards of Elections

did just that.

        The court must reject the notion advanced by Defendants that the existence

of a reasonable impediment provision per se ameliorates any burden imposed by a

photo ID requirement. As with all Section 2 inquiries, the court must conduct an

intensely local appraisal of the impact of S.B. 824 in the light of past and present

reality for voters in North Carolina. League of Women Voters, 769 F.3d at 240;

Gingles, 478 U.S. at 44-45.

                 iv.   Actual Costs of Obtaining Photo ID

       The evidence will demonstrate that obtaining ID for voting under S.B. 824

can be burdensome due to a variety of factors, including underlying documentation

requirements, fees, travel to CBOE or DMV offices due to in-person application

requirements, limited business hours or availability of these offices, and a lack of

voter education. As Plaintiffs' experts and fact witnesses will describe, these burdens

are disproportionately borne by minority voters, who also lack the resources to

overcome them. These cumulative costs of obtaining an ID solely for the purpose




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of voting are far more than the “usual burdens of voting” and would thus constitute

a cognizable obstacle to voting. See Brnovich, 141 S. Ct. at 2338.

                 i. Departures From Practices In 1982

      The degree to which a voting law departs from “standard practice” or “in

widespread use” in 1982 when Section 2 was adopted provides a useful gauge in

determining whether burdens imposed by a challenged law violate Section 2.

Brnovich, 141 U.S. at 2338. This factor favors finding S.B. 824 in violation of

Section 2, since North Carolina (and other states) did not have photo ID requirements

in place in 1982. Photographic identification requirements were the law in North

Carolina for a single primary election in 2016, before being struck down by the

Fourth Circuit. See McCrory, 831 F. 3d 204 (4th Cir. 2016). Thus, photo ID

requirements for voting were not “standard practice” or in “widespread use” in North

Carolina or elsewhere in 1982.

              ii. Opportunities Provided By The State’s Entire System Of
                  Voting
      The “opportunities provided by [North Carolina’s] entire system of voting”

do not reduce the burdens imposed by S.B. 824. Brnovich, 141 U.S. at 2339. Unlike

the Arizona voting practices reviewed in Brnovich, there are no alternative methods

of voting that somehow escape the burdens imposed by S.B. 824’s photo ID

requirements. In Brnovich, the court found the requirement to vote in the assigned

precinct to be mitigated in part by the fact that individuals could still vote by mail or




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drop off their early ballots at any polling place or vote early at an early voting

location. Id. at 2344. By contrast, S.B. 824’s photo ID requirements apply to all

methods of voting in North Carolina.

      Thus, the only other provisions of the state voting system that might alleviate

the impacts of S.B. 824 are the measures included in S.B. 824: the reasonable

impediment declaration process and the provision of cost-free IDs. As described

above, the evidence at trial will show that these provisions fail to accomplish this.

               iii. Strength Of the State Interest

       The state interest in photo identification for voting is demonstrably weak and

pretextual. Defendants have asserted, variously, that the state interest in S.B. 824 is

to prevent voter fraud or to enhance public confidence in the election system. See

Defendants MSJ at 17-18. Plaintiffs witnesses, including experts Lori Minnite and

Allan Lichtman, will provide extensive evidence that the kind of in-person voter

fraud that could be addressed by photo identification is exceedingly rare in North

Carolina; that the legislature was fully aware of the very low incidence of in-person

voter fraud when it enacted SB 824; that enactment of photo ID laws makes no

appreciable difference in enhancing voter integrity in state election systems; that

voters in states with photo ID laws show no greater public confidence in elections

than in states without; and voters in states that enact photo ID laws show no

appreciable increase in voter confidence once these laws are enacted. While




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prevention of voter fraud and instilling voter confidence can be a valid state interest,

see Brnovich, 141 S. Ct. at 2340, the mere recitation of the words “voter fraud” or

“election integrity” are not sufficient to automatically overcome a Section 2 analysis.

See id. Furthermore, a finding of a state interest must always be weighed against the

other factors, as all Section 2 inquiries require consideration of “the totality of the

circumstances.” Brnovich, 141 S. Ct. at 2341.

       Defendants also assert that S.B. 824 was enacted to implement the

Constitutional amendment requiring photo voter ID. But the record at trial will show

that the enactment of the Constitutional Amendment was a component of the overall

effort to enact S.B. 824, and that many leading sponsors of S.B. 824 were explicit in

their desire to use the Constitutional Amendment to deflect further legal challenges

to a photo ID law. This is a meager state interest indeed.

IV.       THE CHALLENGE PROVISION AND THE POLL WATCHER
          PROVISION OF S.B. 824 ARE UNCONSTITUTIONAL AND
          VIOLATE SECTION 2 OF THE VRA

       In addition to the photo ID requirements, S.B. 824 contains two additional

provisions that impermissibly restrict the voting rights of minority voters.

       First, Section 3.1(c) of S.B. 824 expands the grounds for "ballot challenges"

to include lack of proper photo ID. North Carolina law permits "any . . . registered

voter of the county" to challenge another voter's registration and eligibility in certain

circumstances. See N.C. Gen. Stat. 164-87. When a challenge is entered, precinct




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officials must "explain to the challenged registrant the qualifications for registration

and voting[,] . . . examine him as to his qualifications to be registered and to vote[,]

. . .[and] tender to him [an] oath or affirmation" which affirms his identity. Id. 163-

88. Thereafter, if the precinct officials are "satisfied that he is a legal voter" they

"shall overrule the challenge and permit him to vote." Id. The grounds for exercising

challenges were formerly limited to residency, duplicate voting, voting in the wrong

primary, not a qualified voter, or “that the person is not who he or she represents

himself or herself to be.” See N.C. Gen. Stat. § 163-87(1)-(3); see also N.C. Gen.

Stat. § 163-65(c). However, S.B. 824 expands the reasons for challenge to include

"[t]he registered voter does not present photo identification in accordance with [S.B.

824]." Id. at 163-87(5); 2018 N.C. Sess. Laws 144 3.1(c). S.B. 824 invites any voter

of the county to "enter the voting enclosure" and proclaim that another voter "[did]

not present photo identification in accordance with [S.B. 824]." Voters exercising

the reasonable impediment exception, who, by definition, do not present ID, could

be exposed to, at best, disruption and, at worst, intimidation due to the challenge

provision.

      Second, Section 3.3(a) of S.B. 824 (N.C. Gen. Stat. § 163-45(a)) allows the

Chair of each political party to appoint an additional 100 at-large poll observers who

may be present at any polling location in the State to challenge the rights of voters

who enter the precinct.




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      These provisions (referred to herein as “the Challenge Provisions”)

impermissibly burden the rights of Black and Latino voters to vote and have their

votes count, in violation of the Voting Rights Act and the Constitution.

      At trial, Plaintiffs will show that the Challenge Provisions, like the Photo ID

provisions of S.B. 824, were enacted with discriminatory intent. The legislature’s

discriminatory intent in implementing the photo ID provisions of S.B. 824 cannot be

surgically separated from the expansion of poll observers and the scope of

challenges.

       The Challenge Provisions also violate Section 2 of the Voting Rights Act

because they will have disparate impact on Black and Latino citizens of North

Carolina.     Plaintiffs will demonstrate that regulations on the activities of poll

observers have not prevented a slew of reports of intimidation; either because these

regulations are inadequate or because they are not being followed. These reports are

consistent with both historic and more recent efforts to intimidate Black voters in

particular.

      Plaintiffs will present evidence at trial demonstrating that, cumulatively with

the photo ID requirements of S.B. 824, the Challenge Provisions have had and will

continue to have a disparate impact on Black and Latino voters, in violation of

Section 2 of the Voting Rights Act.




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V.    THE COURT SHOULD RETAIN JURISDICTION UNDER SECTION
      3(C) OF THE VRA

      Section 3(c) of the Voting Rights Act, 52 U.S.C. §10302(c), authorizes courts

to retain jurisdiction “to prevent commencement of new devices to deny or abridge

the right to vote.” Perez v. Abbot, 390 F.3d 803, 807 (W.D. Texas, 2019). In effect,

Section 3(c) authorizes a court “to impose a preclearance remedy on states.” Id.

Under Section 3(c), a court may retain jurisdiction over a state “for such period as it

may deem appropriate,” and during that period no restriction or limitation on the

right to vote shall be enforced “unless and until the court finds” that the restriction

or limitation “does not have the purpose and will not have the effect of denying or

abridging the right to vote on account of race or color, or in contravention of the

voting guarantees set forth in section 10303(f)(2) of this title.” Id. at 807-808.

      Section 3 bail-in is an appropriate remedy where there are (i) “violations of

the Fourteenth or Fifteenth Amendments justifying equitable relief” in the state; and

(ii) whether “the remedy of pre-clearance should be imposed.” Perez, 390 F.3d at

813. In determining whether bail-in relief should be imposed, Courts apply several,

non-exhaustive factors, including: (i) whether the violations are “persistent and

repeated”; (ii) whether the violations are “recent or distant in time”; (iii) whether the

violations “would likely be prevented, in the future, by preclearance”; (iv) whether

the violations have “already been remedied by judicial decree or otherwise”; (v) the

likeliness of the violations to recur; and (vi) whether “political developments,



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independent of this litigation, make recurrence more or less likely.” Id. at 818 (citing

Jeffers v. Clinton, 740 F. Supp. 585, 601 (E.D. Ark. 1990).

      While the Section 3 bail-in remedy is “rarely used,” North Carolina’s repeated

and consistent attempts to restrict the right of minority citizens to vote presents the

quintessential case for application of the bail-in remedy.

                                   CONCLUSION

      The photo Voter ID provisions and the Challenge Provisions of S.B. 824

violate the 14th and 15th Amendments and Section 2 of the Voting Rights Act.

Plaintiffs will demonstrate at trial that S.B. 824 was enacted with discriminatory

intent in violation of the Constitution and constitutes an impermissible

infringement on the right to vote under the totality of the circumstances, in

violation of Section 2. This Court should issue an injunction striking S.B. 824 and

should retain jurisdiction over North Carolina’s future efforts to regulate elections

under Section 3(c) of the VRA.

Dated: April 15, 2024                        Respectfully submitted,
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                             CERTIFICATE OF SERVICE

       I hereby certify that on this date I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system which will send notification of such to all counsel of

record in this matter.

This, the 15th day of April 2024.


                                                                /s/ Preston Smith
                                                                Preston Smith




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                        CERTIFICATE OF WORD COUNT
      The undersigned counsel hereby certifies that pursuant to Local Rule 7.3(d)(1), the

foregoing has a word count of less than 6,250 words not including the caption, signature

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from which the word count is generated.

      Dated: April 15, 2024

                                                             /s/ Preston Smith

                                                             Preston Smith




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